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Case 2:05-cr-20101-.]PI\/| Document 28 Filed 07/26/05 Page 1 of 2 Page|D 37

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTER_N DISTRICT OF TENNESSEE

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WESTERN DIVISION 95 JUL'ZG PH lt 26

 

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- U.S. S`°'{

 

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 05-20101-Ml

LARRY JONES

Defendant(s)

~_/\_¢\-._rv-..~\-._¢\-._r\-._¢-._r-._r~._/v

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set Report on Tuesday, July 26, 2005 at 9:00 a.m.
Counsel for the defendant requested a continuance of the present setting.
The continuance is necessary to allow for additional preparation in the
case.

The Court granted the request and continued the matter for Report
to Friday, August 26, 2005 at 9:00 a.m. with a trial date of Tuesday,
September 6, 2005 at 9:30 a.m.

The period from August 12, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

IT Is so 0RDERED this the 2\¢ day of July, 2005.

,Q._@. m‘-GM!.

JO PHIPPS MCCALLA
ITED S‘I'ATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20101 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

